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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


 JAMES L. “FRANK” WHEELER, pro se,

                        Defendant/Petitioner,                 Case No. 3:03 CR 739
                -vs-
                                                              MEMORANDUM OPINION
 UNITED STATES OF AMERICA,                                        AND ORDER

                        Plaintiff/Respondent.

 KATZ, J.

        Petitioner, James L. “Frank” Wheeler, has filed a motion under 18 U.S.C. § 3582(c)(2) to

 modify or reduce sentence. The Government has filed a response in opposition and the matter is

 now ripe for a ruling. For the reasons stated below, Petitioner’s motion will be dismissed.

        Petitioner was formerly the head of the Indianapolis chapter and Green region of the

 Outlaw Motorcycle Club (“OMC”). After a six year investigation into the Green region of the

 OMC, a grand jury in the Northern District of Ohio returned a 40-count indictment in 2003

 charging Petitioner and other defendants with various federal offenses.

        The facts pertaining this matter are set forth under the statement of the case in the

 Government’s opposition. Briefly, Petitioner was charged in Count 1 with racketeering (RICO),

 in violation of 18 U.S.C. § 1962(c); Count 2 with RICO conspiracy, in violation of 18 U.S.C. §

 1962(d); Count 3 with drug trafficking conspiracy, in violation of 21 U.S.C. §§ 841(a)(1) and

 846; and Count 4 with conspiracy to carry or use firearms in relation to drug trafficking or in

 crimes of violence, in violation of 18 U.S.C. § 924(o). On March 5, 2004, the Government filed

 a 21 U.S.C. § 851(a) information for a sentencing enhancement based upon two prior felony drug

 convictions, pursuant to 21 U.S.C. § 841(b)(1)A).
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        After a jury trial, Petitioner was found guilty on Counts 1, 2 and 3 (substantive RICO,

 RICO conspiracy, and conspiracy to possess with intent to distribute narcotics), with a Special

 Verdict as to the drug quantities of 5 kilograms or more of cocaine, and 100 kilograms but less

 than 1,000 kilograms of marijuana, and a Special Verdict as to Racketeering Acts committed:

 1A, 12, 13, 14, & 15. He was found not guilty of Count 4, the conspiracy to carry or use firearms

 during and in relation to drug trafficking or in crimes of violence.

        He was sentenced to life imprisonment on the substantive RICO and drug conspiracy

 counts, to run concurrently, and to 20 years’ imprisonment on the RICO conspiracy count, to run

 consecutively. On appeal to the Sixth Circuit Court of Appeals, Petitioner argued: (1) that his

 indictment for the substantive RICO, RICO conspiracy, and drug conspiracy offenses violated the

 Double Jeopardy Clause because of an earlier prosecution in Florida; and (2) that his sentence

 was improperly imposed for various reasons.

        The Sixth Circuit held: (1) Petitioner’s subsequent prosecution in Ohio for substantive

 RICO and RICO conspiracy offenses violated the Double Jeopardy Clause; (2) the successive

 indictment for the drug conspiracy did not constitute a double jeopardy violation; (3) the overlap

 between conspirators and time periods charged for each drug conspiracy did not constitute a

 double jeopardy violation as to the subsequent indictment; and (4) any Booker, Sixth

 Amendment, or reasonableness error in sentencing Wheeler was harmless. Thus the appellate

 court reversed Petitioner’s convictions and sentences for the substantive RICO and RICO

 conspiracy offenses, and affirmed Petitioner’s conviction and sentence for the drug conspiracy.

 United States v. Wheeler, 535 F.3d 446 (6th Cir. 2008). The U.S. Supreme Court denied

 Petitioner’s petition for a writ of certiorari on April 20, 2009. Wheeler v. United States, 129 S.


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 Ct. 2030, 173 L.Ed.2d 1117 (2009).

        Wheeler filed a motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C.

 § 2255 on April 20, 2010. The motion was denied.

        The instant motion was filed on August 25, 2014, in which Petitioner argues his sentence

 should be reduced because “[t]he Sentencing Commission lowered the offense level in the drug

 table by two levels.” (Doc. No. 2223 at 6). While Petitioner does not specifically state which

 amendment to the Sentencing Guideline applies to his motion, it appears two amendments could

 arguably apply. Amendment 750 to the Sentencing Guidelines, effective November 1, 2011,

 lowered the base offense levels applicable to cocaine base (“crack”) offenses. Amendment 782,

 effective November 1, 2014, will revise the Drug Quantity Table in U.S.S.G. § 2D1.1 and reduce

 by two levels the offense level applicable to many drug trafficking offenses.

        The United States Sentencing Commission (“Commission”) lists in Section 1(B)(1).10(c)

 specific guideline amendments which a court may apply retroactively under 18 U.S.C. §

 3582(c)(2). Pursuant to 18 U.S.C. § 3582(c)(2), a defendant’s sentence may only be reduced

 when “such a reduction is consistent with the applicable policy statements issued by the

 Sentencing Commission.” Dillon v. United States, 130 S. Ct. 2683, 2691 (2010). Guideline

 Section 1B1.10(a) explicitly provides that retroactive application of any guideline other than

 those listed in Subsection (c) is not consistent with the Sentencing Commission’s policy

 statement.

        Amendment 750 lowered the base offense levels for crack cocaine offenses. Petitioner’s

 offense involved powder cocaine and marijuana. Therefore, Petitioner’s motion is denied with

 respect to Amendment 750 because his case did not involve cocaine base, or crack, and he was


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 not sentenced to those portions of Guideline § 2D1.1 altered by Amendment 750.

        Amendment 782 is not effective until November 1, 2014; therefore, it is not ripe for

 applicability at this time. In any event, Amendment 782 would not alter Petitioner’s sentencing

 guideline range. As the Government notes, the Court determined Petitioner’s guideline range for

 a criminal offense level of 41 and a criminal history category VI corresponded to a sentencing

 range of 360 months to life, which is within Petitioner’s range under the Sentencing Guidelines.

 If Petitioner’s criminal offense level was reduced by two levels, his adjusted criminal offense

 level would result in a level 39 and a criminal history category level VI. This revised sentencing

 range would remain at 360 months to life. Therefore, even if his criminal offense level was

 reduced by two levels, the amendment has no effect on lowering Petitioner’s guideline range. In

 Section 1B1.10, the Commission makes clear that a sentencing court is not authorized to reduce a

 defendant’s sentence when a retroactive amendment does not result in lowering the applicable

 sentencing range for a defendant. Guideline § 1B1.10 (a)(2)(B) (Nov. 1, 2011).

        Finally, Petitioner argues his disciplinary record, completion of court-mandated treatment

 and rehabilitative programs, and voluntary enrollment in Adult Continuing Education courses

 should qualify him to be sentenced at the low end of the revised guideline range. (Doc. 2223 at

 6-7). He also asks the Court to consider running his current sentence concurrent to his Florida

 sentence. However, § 3582(c)(2) permits a sentencing court to reduce a defendant’s sentence

 only when “such a reduction is consistent with the applicable policy statements issued by the

 Sentencing Commission.” As the Government notes, § 3582(c)(2) reductions only apply to

 amendments for the corresponding guideline provisions that applied to the defendant when

 sentenced, and leaves all other guideline application decisions unaffected. As explained, the


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 amendments to the Sentencing Guidelines which Petitioner ostensibly references in support of

 his motion do not apply to his sentence. Moreover, § 3582(c)(2) does not authorize resentencing.

 Therefore, Petitioner’s requests for a sentence reduction based on post-conviction efforts,

 construed as 18 U.S.C. §3553(a) sentencing factors, and to run his sentence concurrent to his

 Florida sentence are denied.

        Accordingly, the Court has no jurisdiction to provide the relief Petitioner seeks. For the

 foregoing reasons, the motion of the Petitioner to modify or reduce sentence is denied.

        IT IS SO ORDERED.
                                                        s/ David A. Katz
                                                      DAVID A. KATZ
                                                      U. S. DISTRICT JUDGE




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